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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        *
                                                 *
        v.                                       *     CRIMINAL NO. 23-cr-257 (TSC)
                                                 *
 DONALD J. TRUMP,                                *
                                                 *
                Defendant.                       *
                                                 *

      GOVERNMENT’S OPPOSITION TO MOTION FOR EXTENSION OF TIME

       The Government wants to provide discovery to the defendant.             By his motion, the

defendant seeks to delay that process. The defendant’s motion should be denied.

       Three days ago, on August 2, the Government proposed to defense counsel a protective

order that largely tracked one entered in the defendant’s other pending federal criminal case in the

Southern District of Florida. See Defense Motion for Extension of Time, ECF No. 11, Ex. A at 1.

In emails not appended to the defendant’s extension motion, the Government followed up on the

evening of August 3 and early afternoon of August 4. Thereafter, defense counsel finally

responded by sending an entirely different protective order. Since the defendant’s proposal was

inadequate, the Government proposed another alternative—this one modeled after a protective

order entered in a case before Judge Carl J. Nichols recently tried by one of the defendant’s

attorneys present at his arraignment. Defense counsel declined to substantively confer on that

proposal on a Friday evening, see id., after which the Government moved separately for entry of

the order.   The Court ordered the defendant to respond by Monday with a redline of the

Government’s proposal. See Minute Order, Aug. 5, 2023. Rather than spend time complying with

the Court’s order, the defendant drafted a filing as to why he did not have time to review and

consider the 5-page proposed protective order.
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       The defendant’s extension motion proposes unnecessary delay to normal order. The

defendant suggests that the delay “will enable Defendant to fully assess the Proposed Order and

advise the Court of applicable law.” ECF No. 11 at 1. Nothing prevents defense counsel from

doing just that on the schedule already ordered by the Court. To the extent defense counsel wants

to confer further, Government counsel is available at any time—evenings, weekends, or holidays.

And if the Court enters the proposed protective order and the defendant later is dissatisfied, the

defendant can seek to modify the order at any time.

       The Government stands ready to press send on a discovery production. The defendant is

standing in the way. The Court should deny the motion.



                                                      Respectfully submitted,

                                                      JACK SMITH
                                                      Special Counsel

                                             By:      /s/Thomas P. Windom
                                                      Thomas P. Windom
                                                      Molly Gaston
                                                      Senior Assistant Special Counsels
                                                      950 Pennsylvania Avenue NW
                                                      Room B-206
                                                      Washington, D.C. 20530




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